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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TAWANDA HALL, et al.,
                                                  Case No. 20-cv-12230
                   Plaintiffs,
                                                  Paul D. Borman
 v.                                               United States District Judge

 OAKLAND COUNTY TREASURER
 ANDREW MEISNER, OAKLAND
 COUNTY, SOUTHFIELD NON-PROFIT
 HOUSING CORPORATION, and CITY
 OF SOUTHFIELD, et al.,

                Defendants.
 ______________________________/

                                 JUDGMENT

      For the reasons stated in the following Opinion and Orders:

      (1)   Opinion & Order Granting Habitat For Humanity of Oakland County
            Inc.’s Motion to Dismiss Under Fed. R. Civ. P. 12(b)(6) (ECF No. 58);

      (2)   Opinion & Order Granting Defendants Oakland County and Oakland
            County Treasurer Andrew Meisner’s Motion to Dismiss (ECF No. 62);

      (3)   Opinion & Order Granting Defendants Southfield Non-Profit Housing
            Corporation, Southfield Neighborhood Revitalization Initiative, LLC,
            Mitchell Simon, and E’Toile Libbett’s Motion to Dismiss (ECF No.
            65); and

      (4)   Opinion & Order Granting Defendants City of Southfield, Frederick
            Zorn, Kenson Siver, Susan Ward-Witkowski, Gerald Witkowski, and
            Irvin Lowenberg’s Motion to Dismiss (ECF No. 66).
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it is ORDERED AND ADJUDGED that Defendants’ Motions to Dismiss (ECF

Nos. 24, 31, 32, 34) are GRANTED and this case is DISMISSED WITH

PREJUDICE.

IT IS SO ORDERED.

                                         s/Paul D. Borman
Dated: October 4, 2021                   Paul D. Borman
                                         United States District Judge




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